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 1    DAVID H. KRAMER, SBN 168452                    BRIAN M. WILLEN (admitted Pro Hac Vice)
      MAURA L. REES, SBN 191698                      WILSON SONSINI GOODRICH & ROSATI
 2    LAUREN GALLO WHITE, SBN 309075                 Professional Corporation
      WILSON SONSINI GOODRICH & ROSATI               1301 Avenue of the Americas, 40th Floor
 3    Professional Corporation                       New York, NY 10019-6022
      650 Page Mill Road                             Telephone: (212) 999-5800
 4    Palo Alto, CA 94304-1050                       Facsimile: (212) 999-5801
      Telephone: (650) 493-9300                      Email: bwillen@wsgr.com
 5    Facsimile: (650) 565-5100
      Email: dkramer@wsgr.com
 6            mrees@wsgr.com
              lwhite@wsgr.com
 7
     Attorneys for Defendants and Counterclaimants
 8   YOUTUBE, LLC and GOOGLE LLC
 9                                UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12   MARIA SCHNEIDER, UNIGLOBE                       )   CASE NO.: 3:20-cv-04423-JD
     ENTERTAINMENT, LLC, and AST                     )
13   PUBLISHING LTD., individually and on behalf     )   DECLARATION OF PAUL N.
     of all others similarly situated,               )   HAROLD IN SUPPORT OF
14                                                   )   YOUTUBE, LLC AND GOOGLE
                                                     )   LLC’S MOTION FOR SUMMARY
15                 Plaintiffs,                       )
                                                     )   JUDGMENT AS TO PLAINTIFF
16          v.                                       )   MARIA SCHNEIDER
                                                     )
17   YOUTUBE, LLC and GOOGLE LLC,                    )   Date:        October 13, 2022
                                                     )   Time:        10:00 am
18                 Defendants                        )   Courtroom:   11
                                                     )   Judge:       Hon. James Donato
19                                                   )
                                                     )
20                                                   )
     YOUTUBE, LLC and GOOGLE LLC,                    )
21                                                   )
                   Counterclaimants,                 )
22                                                   )
            v.                                       )
23                                                   )
                                                     )
24   PIRATE MONITOR LTD, PIRATE MONITOR              )
     LLC, and GÁBOR CSUPÓ,                           )
25                                                   )
                   Counterclaim Defendants.          )
26                                                   )
27

28
     DECLARATION OF PAUL N. HAROLD ISO                                CASE NO. 3:20-CV-04423-JD
     YOUTUBE, LLC AND GOOGLE LLC’S MOTION
     FOR SUMMARY JUDGMENT AS TO PLAINTIFF
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 1          I, Paul N. Harold, declare as follows:

 2          1.      I am an attorney at Wilson, Sonsini, Goodrich & Rosati, counsel to Defendants, am

 3   over the age of 18 and competent to make this declaration. I make each of the following

 4   statements based on my personal knowledge, and I could, if necessary, testify to the truth of each

 5   of them.

 6          2.      Schneider’s copyright infringement complaint did not identify a single alleged

 7   copyright infringement. See Dkt. 1. After Defendants raised this matter with the Court, the Court

 8   set deadlines for Schneider to identify the alleged infringements at issue in the case. See Dkt. 98.

 9   The Court ordered Schneider (and the other plaintiffs) “to provide a preliminary list of

10   infringements” by November 29, 2021, a week after the deadline for Plaintiffs to file their

11   amended complaint identifying all copyrighted works at issue. Id. at 1. The Court gave Plaintiffs

12   roughly three months to provide a final list of alleged infringements, ordering them “to identify a

13   final list of infringements” by February 25, 2022. Id. at 2. On that date, Plaintiffs served on

14   Defendants their final list of infringements. A true and correct copy of Plaintiffs’ February 25,

15   2022 List of Infringements is attached as Exhibit 1. That list does not include any alleged

16   infringements of twenty-seven of Schneider’s Works-in-Suit, including (1) A World Lost; (2) CQ

17   CQ, Is Anybody There?; (3) Dissolution; (4) Divided by two; (5) Espino; (6) Evelyn; (7) Finding

18   flight; (8) Free fall; (9) Lembrança; (10) Nimbus; (11) Now and then; (12) One for Tad; (13)

19   Prairie dance; (14) Recapitulation; (15) Returning; (16) Samba solstice; (17) Sanzenin; (18) Stone

20   Song; (19) String Quartet No. 1; (20) The blasphemy; (21) The Sun Waited for Me; (22) The

21   willow; (23) This ‘n that; (24) Tranquilidade; (25) VIKINGS ANTHEM; (26) Waxwing; and (27)

22   Willow Lake.

23          3.      Attached as Exhibit 2 is a chart that I prepared listing what Defendants contend are

24   the license and limitations defenses applicable to each infringement alleged by Plaintiff Maria

25   Schneider in her February 25, 2022 Final List of Infringements (see Ex. 1).

26                  a. The “Alleged Infringement URL” column lists every allegedly infringing video
                       by URL identified in Schneider’s February 25, 2022 List of Infringements. See
27                     Ex. 1.
28
     DECLARATION OF PAUL N. HAROLD ISO                  -1-                    CASE NO. 3:20-CV-04423-JD
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 1                 b. The “Work(s) at Issue” column lists the Works-in-Suit that Schneider alleges
                      appear in the videos at the URLs, as stated in Schneider’s February 25, 2022
 2                    List of Infringements. See Ex. 1.
 3
                   c. The “PLA License Defense” column states whether Defendants contend that the
 4                    corresponding alleged infringement was licensed to Defendants through the
                      Publishing License Agreement entered into between Google and Schneider’s
 5                    music publisher. See Declaration of Dan Coleman ¶ 5; Declaration of Joanne
                      Suk (“Suk Decl.”) ¶ 4 & Suk Ex. 1 (Publishing License Agreement).
 6
                   d. The “TOS License Defense” column states whether Defendants contend that the
 7
                      corresponding alleged infringement was licensed to Defendants under the
 8                    YouTube Terms of Service because Schneider authorized the content to be
                      uploaded to and appear on YouTube. See Declaration of Chenyuan Zhu (“Zhu
 9                    Decl.”) ¶ 8 & Zhu Ex. 1 (Terms of Service).
10                 e. The “Copyright SOL Defense, Actual Knowledge” and “Copyright SOL
11                    Defense, Constructive Knowledge” columns state whether Defendants contend
                      that the corresponding alleged infringement is barred under 17 U.S.C.
12                    § 507(b)’s three-year statute of limitations because Schneider had either actual
                      or constructive knowledge of the alleged infringement more than three years
13                    before she filed suit on July 2, 2020.
14                 f. The “TOS SOL Defense, Actual Knowledge” and “TOS SOL Defense,
15                    Constructive Knowledge” columns state whether Defendants contend that the
                      corresponding alleged infringement is barred under YouTube’s Terms of
16                    Service, which requires that “ANY CAUSE OF ACTION ARISING OUT OF
                      OR RELATED TO THE SERVICES MUST COMMENCE WITHIN ONE (1)
17                    YEAR AFTER THE CAUSE OF ACTION ACCRUES. OTHERWISE, SUCH
                      CAUSE OF ACTION IS PERMANENTLY BARRED.” Zhu Ex. 1 § 14.
18

19                 g. The “Date of Video Upload” column states the date that the video allegedly
                      infringing Schneider’s work was uploaded to YouTube’s service. This
20                    information is derived from “voluminous writings … that cannot conveniently
                      be examined in court” (Fed. R. Evid. 1006), specifically documents produced
21                    by Defendants stamped GOOG-SCHNDR-00042746 to GOOG-SCHNDR-
                      00043716, and GOOG-SCHNDR-00047418 to GOOG-SCHNDR-00047895.
22

23                 h. The “Date of Discovery” column states the date that Schneider admitted she
                      became aware of the alleged infringement, as reflected in Plaintiff Maria
24                    Schneider’s Second Amended Objections And Response To YouTube And
                      Google’s Sixth Interrogatory (see infra Ex. 12).
25

26          4.     Attached as Exhibit 3 is a true and correct copy of an email thread between

27   Schneider and John Barker at ClearBox Rights produced by Plaintiff Maria Schneider stamped

28
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 1   SCHNEIDER_0000003439. In this email thread, Schneider states that her works “are

 2   administered by ModernWorks (Dan Coleman).” Ex. 3 at 1.

 3          5.      Attached as Exhibit 4 is a true and correct copy of an email produced by Plaintiff

 4   Maria Schneider stamped SCHNEIDER_0000055596. In this email, Schneider refers to “Dan

 5   Coleman of Modern Works” as “[m]y publishing administrator.” Ex. 4 at 1.

 6          6.      Attached as Exhibit 5 is a true and correct copy of an email thread concerning a

 7   request to license one of Schneider’s works produced by Plaintiff Maria Schneider stamped

 8   SCHNEIDER_0000043126. In this email thread, Schneider directs the licensing inquiry to

 9   Modern Works. Ex. 5 at 1.

10          7.      Attached as Exhibit 6 is a true and correct copy of an email thread concerning a

11   request to license one of Schneider’s works produced by Plaintiff Maria Schneider stamped

12   SCHNEIDER_0000152030. In this email thread, Schneider directs the licensing inquiry to

13   Modern Works. Ex. 6 at 1.

14          8.      Attached as Exhibit 7 is a true and correct copy of a printout of the YouTube Help

15   Center webpage titled “How Content ID works” retrieved from the YouTube.com website and

16   produced by Defendants stamped GOOG_SCHNDR-00037924.

17          9.      Attached as Exhibit 8 is a true and correct copy of the document produced by

18   Plaintiff Maria Schneider stamped SCHNEIDER_0000100799, which was produced under a

19   CONFIDENTIAL designation.

20          10.     Attached as Exhibit 9 is a true and correct copy of the document produced by

21   third-party Modern Works Music Publishing stamped MODWORKS00000803, which was

22   produced under a CONFIDENTIAL designation.

23          11.     Defendants served on Schneider a set of interrogatories that among other things

24   asked Schneider to: (i) identify instances in which she licensed her Works-in-Suit; (ii) to identify

25   persons or entities who have been authorized to license her Works-in-Suit; and (iii) to describe the

26   basis for her claims that Defendants allegedly violated Section 1202 of the Copyright Act.

27   Attached as Exhibit 10 is a true and correct copy of Plaintiff Maria Schneider’s First Amended

28
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 1   Responses And Objections to Defendants’ First And Second Set Of Interrogatories, served March

 2   8, 2021.

 3                 a. Defendants’ Interrogatory No.4 asked, “For each Work In Suit, identify by date,
                      person, and agreement every occasion on which any other person has been
 4                    licensed or authorized to copy, display, distribute, or publicly perform the work
                      (or otherwise exercise any of the rights under Section 106 of the Copyright Act
 5
                      with respect to the work).” Ex. 10 at 11.
 6
                       Schneider responded that she had “authorized or licensed” the following rights
 7                     to Works-in-Suit on YouTube: “the display of a performance by the Royal
                       Academy of Music of ‘Dance, you monster, to my soft song’ and ‘Choro
 8                     Dançado’ to be publicly available for one month only and then unlisted for an
                       additional six months” and “the display of a performance by Elmhurst College
 9
                       of an arrangement of ‘Allegresse’ to be publicly available.” Id.
10
                   b. Defendants Interrogatory No. 5 asked, “For each Work In Suit, identify every
11                    person or entity who has ever been authorized to grant licenses to any of the
                      rights set forth in Section 106 of the Copyright Act (e.g., any music publisher,
12                    agent, performing rights organization, collection society, clearinghouse, or
13                    publishing administrator).” Id. at 11-12.

14                     Schneider responded that “for the Works in Suit Schneider has authorized
                       ASCAP to grant certain public performance rights.” Id. at 12.
15
                   c. Defendants’ Interrogatory No. 9 asked, “Describe in detail each alleged
16                    violation of Section 1202 of the Copyright Act that you contend Defendants
17                    committed regarding your Works in Suit, including for each alleged violation,
                      the specific Work In Suit on which CMI appeared, the specific CMI that
18                    Defendants allegedly removed, and the URL of the YouTube video displaying
                      the content without the alleged CMI.” Id. at 16.
19
                       Schneider’s only response was to identify certain “International Standard
20
                       Musical Word Codes (ISWCs) and International Standard Recording Codes
21                     (ISRCs) associated with her Works in Suit.” Id. at 17. She did not identify any
                       specific Works-in-Suit, specific videos that contained alleged CMI, or the
22                     specific CMI any specific video allegedly once contained.

23          12.    Plaintiff Maria Schneider is a member of the American Society of Composers,
24   Authors, and Publishers (“ASCAP”). Ex. 21 at 109:3-8. When authors of musical works become
25   members of ASCAP, they agree to ASCAP’s Writer Member Agreement. Attached as Exhibit 11
26   is a true and correct copy of the ASCAP Writer Member Agreement from ASCAP’s website
27   (https://www.ascap.com/~/media/files/pdf/join/ascap-writer-agreement.pdf) and produced in this
28
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 1   litigation stamped GOOG-SCHNDR-00032723. Pursuant to this membership agreement, members

 2   like Schneider grant ASCAP a nonexclusive “right to license non-dramatic public performances”

 3   of their copyrighted works. Ex. 11 at 1.

 4          13.     Defendants served on Schneider Interrogatory No. 6, which asked Schneider to

 5   provide the date she first learned of each infringement and to detail how she became aware of each

 6   infringement. Attached as Exhibit 12 is a true and correct copy of Plaintiff Maria Schneider’s

 7   Second Amended Objections And Response To YouTube And Google’s Sixth Interrogatory,

 8   served June 10, 2022. After several amendments and corrections to her response, Schneider

 9   provided dates “on or shortly before” which she “became aware of the [alleged] infringements.”

10   Ex. 12 at 4. These dates ranged from December 10, 2007 (more than twelve years before

11   Schneider sued) to February 23, 2022 (twenty months after she sued). Id. at 4-8. Schneider said

12   that she and her agents discovered the alleged infringements by “conducting searches for

13   unauthorized copies of her work on YouTube using her name and/or the titles of the Works in Suit

14   or by being alerted to the video by a third party.” Id. at 8.

15          14.     Attached as Exhibit 13 is a true and correct copy of the document produced by

16   Plaintiff Maria Schneider stamped SCHNEIDER_0000033198, which was produced under a

17   CONFIDENTIAL designation.

18          15.     Attached as Exhibit 14 is a true and correct copy of the document produced by

19   Plaintiff Maria Schneider stamped SCHNEIDER_0000125604, which was produced under a

20   CONFIDENTIAL designation.

21          16.     Attached as Exhibit 15 is a true and correct copy of a February 18, 2021 email

22   thread between Marie Le Claire and Schneider, produced by Plaintiff Maria Schneider stamped

23   SCHNEIDER_0000178804. In this email thread, Schneider inquires about videos containing

24   Schneider’s works that were deleted from Schneider’s YouTube channel during the litigation.

25   Schneider asks Le Claire and Bornheimer, “Did either of you remove these?” Ex. 16 at 1. Le

26   Claire’s response stated, “It was probably me.” Id.

27

28
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 1          17.     Attached as Exhibit 16 is a true and correct copy of the document produced by

 2   Plaintiff Maria Schneider stamped SCHNEIDER_0000176477, which was produced under a

 3   CONFIDENTIAL designation and marked as Schneider Exhibit 22 at the deposition of Plaintiff

 4   Maria Schneider and authenticated by Schneider. See Ex. 21 at 96:17-98:5.

 5          18.     Attached as Exhibit 17 is a true and correct copy of an email thread between

 6   Schneider and Alice DuLuca produced by Plaintiff Maria Schneider stamped

 7   SCHNEIDER_0000124248, which was marked as Schneider Exhibit 23 at the deposition of

 8   Plaintiff Maria Schneider and authenticated by Schneider. See Ex. 21 at 98:14-25. In this email

 9   thread, DuLuca asks Schneider for permission to upload to YouTube a video promoting the Mass

10   Audubon Bird-a-Thon that used Schneider’s work Cerulean Skies, which is a Work-in-Suit. Ex.

11   17 at 5-6. Schneider agreed, writing “Of course you can do this on YouTube.” Id. at 1; see also

12   Ex. 21 at 99:2-16.

13          19.     Attached as Exhibit 18 is a true and correct copy of Defendants And

14   Counterclaimants YouTube, LLC And Google LLC’s Corrected Amended Response To Plaintiff

15   Maria Schneider’s Interrogatory No. 1, served June 8, 2022. Schneider’s Interrogatory No. 1 asked

16   for certain information about the treatment of copyright management information in uploaded

17   videos, including whether YouTube’s “systems now have, or have they ever had, the capacity to

18   detect the existence of CMI during or after the upload process.” Ex. 18 at 3. Among other points,

19   YouTube’s sworn response explained that “YouTube’s systems do not have the capacity to detect

20   and cannot be designed to detect the existence of CMI, because those systems have no way to

21   determine whether any metadata in the file constitutes CMI, and no way to verify the accuracy of

22   information in fields that could conceivably contain CMI, as users can add, remove, or modify the

23   information in embedded metadata before uploading a given video. YouTube therefore does not

24   know whether the contents of any given field do or do not constitute copyright management

25   information about the associated video, or even if it were CMI, whose CMI it might be.” Id. at 6,

26   ¶ 6.

27

28
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 1          20.     On April 29, 2022, Defendants served Interrogatory No. 19, which sought the basis

 2   for Schneider’s allegations that Defendants violated 17 U.S.C. § 1202. Attached as Exhibit 19 is a

 3   true and correct copy of Plaintiff Maria Schneider’s Objections And Responses To Defendant

 4   YouTube, LLC And Google LLC’s Fifth Set of Interrogatories To Plaintiff Maria Schneider (Nos.

 5   12-20), served May 31, 2022. On May 31, one month before the close of fact discovery, Schneider

 6   objected to the interrogatory as premature, stated “that the parties are negotiating responses to

 7   RFPs relevant to information concerning this issue,” and reserved “the right to supplement her

 8   response” in the future as she saw fit. Fact discovery closed on July 5, 2022 (Dkt. 98, 155), and

 9   Schneider has never supplemented her interrogatory response (Ex. 19 at 9).

10          21.     Attached as Exhibit 20 is a true and correct copy of the document produced by

11   Plaintiff Maria Schneider stamped SCHNEIDER_0000090786, which was produced under a

12   CONFIDENTIAL designation.

13          22.     On June 14, 2022, Defendants took a deposition of Plaintiff Maria Schneider.

14   Attached as Exhibit 21 is a true and correct copy of excerpts of the transcript of the deposition of

15   Plaintiff Maria Schneider, taken June 14, 2022.

16          23.     On June 21, 2022, Defendants took a deposition of Marie Le Claire. Attached as

17   Exhibit 22 is a true and correct copy of excerpts of the transcript of the deposition of Marie Le

18   Claire, taken June 21, 2022. Le Claire began working for Schneider in 2008, and since then has

19   worked for Schneider in a variety of roles including as an assistant, videographer, and road

20   manager. Ex. 22 at 20:5-21:18. Le Claire also performed a variety of services relating to YouTube

21   for Schneider at Schneider’s direction, including searching for alleged infringements of

22   Schneider’s works on YouTube, sending takedown notices for alleged infringements of

23   Schneider’s works on YouTube, uploading videos containing Schneider’s works to YouTube, and

24   applying for YouTube’s Content ID copyright management tool. Ex. 22 at 21:7-25:9.

25          24.     On June 23, 2022, Defendants took a deposition of Zachary Bornheimer. Attached

26   as Exhibit 23 is a true and correct copy of excerpts of the transcript of the deposition of Zachary

27   Bornheimer, taken June 23, 2022. Bornheimer started regularly working for Schneider in 2017,

28
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 1   and has since performed a variety of services for Schneider, including copy work on her musical

 2   scores, associate producer work on her recordings, as well as technical advisory work and piracy

 3   research. Ex. 23 at 29:6-10. Bornheimer also conducted searches for alleged infringements of

 4   Schneider’s works online and would send DMCA takedown notices on Schneider’s behalf. Ex. 23

 5   at 29:2-3, 97:18-100:24.

 6          25.     Defendants moved to dismiss (Dkt. 103) twenty-eight of Schneider’s Works-in-Suit

 7   because those works were not registered pre-suit with the United States Copyright Office. These

 8   works are: (1) Aires de Lando; (2) A Potter’s Song; (3) Arbiters of Evolution; (4) A World Lost;

 9   (5) Bluebird; (6) Braided Together; (7) Carlos Drummond de Andrada Stories (5 songs for

10   soprano and chamber orchestra); (8) Cerulean Skies; (9) CQ CQ, Is Anybody There?; (10) Data

11   Lords; (11) Don’t Be Evil; (11) Home; (12) Lembrança; (14) Look Up; (15) Nimbus; (16) Rich’s

12   Piece; (17) Sanzenin; (18) Sky Blue; (19) Sputnik; (20) Stone Song; (21) String Quartet No. 1; (22)

13   The Monarch and the Milkweed; (23) The Pretty Road; (24) The Sun Waited for Me; (25) The

14   Thompson Fields; (26) Walking by Flashlight (instrumental big band arrangement); (27) Willow

15   Lake; (28) Winter Morning Walks (9 songs for soprano, string orchestra, and jazz trio). Id. at 4

16   n.2.

17          26.     At the hearing on Defendants’ motion to dismiss, the Court stated, “[I]t’s relatively

18   easy to figure this out. Can’t you all just get together and go through it and do something like that?

19   I mean don’t waste your time, Plaintiff, if it’s -- if it’s not registered, you’re pretty much done. So

20   why can’t -- can’t you just sit down and, look the complaint was filed on -- the original --you

21   know, it has to be probably the original complaint, whenever that was, and take it from there.”

22   Dkt. 124 at 16:17-24. The Court then ordered the parties to “meet and confer about the registration

23   status of the works.” Dkt. 120 at 1. During that meet and confer on May 20, 2022, counsel for

24   Plaintiff agreed to drop claims based on the twenty-eight works that were not registered with the

25   U.S. Copyright Office before Schneider filed her original complaint on July 2, 2020. On June 3,

26   Defendants sent to Plaintiffs a draft stipulation of dismissal, which Plaintiffs never signed. On

27   August 1, 2022, the Court denied Defendants’ motion to dismiss, concluding that Schneider’s

28
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 1   twenty-eight works that were not registered at the outset of the case, but were registered before her

 2   amended complaint, were not subject to dismissal based on a lack of timely registration. Dkt. 157

 3   at 3. By that point, however, Plaintiffs had already agreed to drop those 28 works from the case,

 4   and have said nothing about the issue since.

 5          27.     On December 18, 2020, counsel for Plaintiffs wrote to counsel for Defendants

 6   about an “error” in the complaint and Pirate Monitor’s interrogatory responses. That “error” was

 7   that Pirate Monitor did not in fact own one of the works named in the complaint and identified in

 8   Pirate Monitor’s interrogatory response, Csak szex és más semi. See Dkt. 1, ¶ 17 (naming Csak

 9   szex és más semi as a Work-in-Suit). Plaintiffs served an amended interrogatory response

10   purporting to put at issue a replacement work-in-suit, Vakvaganyok. Attached as Exhibit 24 is a

11   true and correct copy of an email sent by counsel for Plaintiffs to counsel for Defendants on

12   December 18, 2020, along with Plaintiff Pirate Monitor LTD’s Amended Response And

13   Objections To YouTube And Google’s Interrogatory No. 1. Pirate Monitor later dismissed all of

14   its claims in the case with prejudice. Dkt. 66.

15          28.     Defendants served interrogatories on the two later-joined plaintiffs, Uniglobe

16   Entertainment, LLC and AST Publishing, LTD. Attached as Exhibit 25 is a true and correct copy

17   of Plaintiff Uniglobe Entertainment, LLC’s Amended Objections And Responses To YouTube

18   And Google’s First And Second Set Of Interrogatories, served June 28, 2022. Attached as Exhibit

19   26 is a true and correct copy of Plaintiff AST Publishing LTD.’s Objections And Responses To

20   YouTube And Google’s First Set Of Interrogatories, served January 26, 2022. In their

21   interrogatory responses, Uniglobe and AST admit granting licenses to their Works-in-Suit for use

22   on YouTube. See Ex. 25 at 9-14; Ex. 26 at 6-7.

23          I declare under penalty of perjury under the laws of the United States of America that the

24   foregoing is true and correct to the best of my knowledge. Executed this 26th day of August

25   2022, at Washington, District of Columbia.

26                                                                /s/ Paul N. Harold
                                                                  Paul N. Harold
27

28
     DECLARATION OF PAUL N. HAROLD ISO
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 1                                   ATTORNEY ATTESTATION

 2          I, David H. Kramer, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with N.D. Cal. Civil L.R. 5-1(i)(3), I hereby attest that the concurrence

 4   in the filing of this document has been obtained from the signatory.

 5                                                               /s/ David H. Kramer

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     DECLARATION OF PAUL N. HAROLD ISO
     YOUTUBE, LLC AND GOOGLE LLC’S MOTION             -10-                  CASE NO. 3:20-CV-04423-JD
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